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 Attorney for Plaintiff
 HB Productions, Inc.

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

 HB Productions, Inc.,                     )   Case No.: 1:19-cv-487
                                           )   (Copyright)
                     Plaintiff,            )
     vs.                                   )   COMPLAINT; EXHIBITS 1-4;
                                           )   DECLARATION OF STEPHANIE
 Muhammad Faizan,                          )   KESSNER; DECLARATION OF
 JOHN DOE dba ibit.uno, and                )   COUNSEL
 DOES 1-35                                 )
                                           )   (1) CONTRIBUTORY
                     Defendants.           )       COPYRIGHT
                                           )       INFRINGEMENT
                                           )   (2) INTENTIONAL
                                           )       INDUCEMENT
                                           )   (3) DIRECT COPYRIGHT
                                           )       INFRINGEMENT
                                           )   (4) FALSE ADVERTISING
                                           )

                                     COMPLAINT

           Plaintiff HB Productions, Inc. (“Plaintiff”) files this Complaint against

 Defendants Muhammad Faizan (“Faizan”), JOHN DOE dba ibit.uno (“JOHN



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 DOE”), and DOES 1-35 (sometimes referred to collectively as “Defendants”) and

 alleges as follows:

                          I.    NATURE OF THE ACTION

           1.   Plaintiff brings this action to stop the massive piracy of its motion

 picture Hellboy brought on by Defendants.

           2.   To halt Defendants’ illegal activities, Plaintiff brings this action

 under: (a) the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101,

 et seq. (the “Copyright Act”) and allege that Defendants are liable for direct and

 contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501; (b)

 the Lanham Act of 1946, as amended, 15 U.S.C. §§1051, et seq., and alleges that

 Defendant Faizan is further liable for false and/or misleading misrepresentations

 in violation of 15 U.S.C. §1125(a)(1)(B);

                         II.   JURISDICTION AND VENUE

           3.   This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal

 question), 15 U.S.C. §1125(a)(1)(B) (the Lanham Act), and 28 U.S.C. § 1338

 (patents, copyrights, trademarks, and unfair competition).

           4.   Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and

 outside this jurisdiction with the full knowledge that their acts would cause injury

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 in this jurisdiction.

           5.   Defendants Faizan and JOHN DOE cause harm to Plaintiff’s business

 within this District by diverting customers in this District to unauthorized Internet-

 based content distribution services through, at least, the interactive websites

 ibit.uno, mkvcage.fun and mkvcage.com.

           6.   Defendants Faizan and JOHN DOE have designed their interactive

 websites to individually target Hawaii users based upon their personal information

 such as web browsing history.

           7.   Upon information and belief, Defendants Faizan and JOHN DOE

 collect log files including the Internet Protocol (“IP”) address, Internet Service

 Provider (“ISP”) and browser type of each user who visits their interactive

 websites.

           8.   Upon information and belief, Defendants Faizan and JOHN DOE use

 cookies and web beacons to store information such as personal preferences of users

 who visit their websites.

           9.   Upon information and belief, Defendants Faizan and JOHN DOE

 obtain financial benefit from their users in Hawaii via third party advertisements

 such as Google through the Google AdSense program.




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           10.   Upon information and belief, Defendants Faizan and JOHN DOE use

 the cookies, log files and/or web beacons to narrowly tailor the website viewing

 experience to the geolocation of the user. Particularly, users in Hawaii receive

 advertisements based upon their location and websites they have previously

 visited.




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           11.   Defendant Faizan solicits feedback from his users. Namely, movies

 that his users wish for him to pirate.




           12.   Defendant Faizan solicits donations from his users from his

 interactive website.




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           13.   In the alternative, the Court has jurisdiction of Defendants Faizan and

 JOHN DOE pursuant to Fed. R. Civ. P. 4(k)(2), the so-called federal long-arm

 statute, for at least the following reasons: (1) Plaintiff’s claims arise under federal

 law; (2) the Defendants Faizan and JOHN DOE purposely directed their electronic

 activity into the United States and target and attract a substantial number of users

 in the United States and, more particularly, this District; (3) Defendants Faizan and

 JOHN DOE do so with the manifest intent of engaging in business or other

 interactions with the United States; (4) the Defendants Faizan and JOHN DOE are

 not subject to jurisdiction in any state’s courts of general jurisdiction; and (5)

 exercising jurisdiction is consistent with the United States Constitution and laws.

           14.   The top country of origin of traffic to the website of Defendant JOHN

 DOE is the United States.

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           15.   Defendant JOHN DOE has received over 42,910,000 visitors to his

 website ibit.uno since February of 2019.




           16.   The United States is the second highest source of traffic to the website

 of Defendant Faizan.




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           17.   Defendant Faizan has received over 9 million visitors to his website

 mkvcage.com since May of 2019.




           18.   Defendants Faizan and JOHN DOE use or have used many United

 States (“US”) based sources for operating their interactive websites. Both use the

 nameserver company Cloudflare, Inc. (California). Defendant Faizan uses the

 domain Registrar and hosting service of Namecheap (Arizona). Defendant Faizan

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 uses the email service of the US Company Google (California). Defendant Faizan

 used the US company PayPal to make a payment to Namecheap when registering

 the domain mkvcage.cc on Jan. 6, 2018.

           19.   Defendant JOHN DOE purposely avails itself of the advantages of US

 law.      Particularly, Defendant JOHN DOE takes advantage of the safe harbor

 provisions of the Digital Millennium Copyright Act (“DMCA”) of 17 USC § 512

 on its website.




           20.   Defendant Faizan purposely avails himself of the advantages of US

 law. Particularly, Defendant Faizan takes advantage of the safe harbor provisions

 of the DMCA on his website.



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            21.   Defendants Faizan and JOHN DOE promote overwhelmingly if not

  exclusively motion pictures produced by US companies on their interactive

  websites.

            22.   Defendant Faizan even includes a webpage of the Internet Movie

  Database (“IMDB”) top 250 movies with a download link below each movie to

  unlawfully download the specific movie. The IMDB is operated by IMDb.com,

  Inc., a subsidiary of the US company Amazon and includes primarily US movies.


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            23.   Defendant Faizan and JOHN DOE promoted Plaintiff’s motion

  picture prominently on their websites to attract new users.




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            24.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and (c)(3) any of the Defendants not a resident of

  the United States may be sued in this District.

                                      III.   PARTIES

                                      A. The Plaintiff
            25.   The Plaintiff is a corporation organized and existing under the laws of

  the State of Nevada.        The Plaintiff has its principal offices in Los Angeles,

  California.

            26.   Plaintiff is the owner of the copyright for the motion picture in the

  Work “Hellboy”, (hereafter: the “Work”) a major motion picture released in 2018.

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            27.   The Work is an action movie starring David Harbour, Milla Jovovich,

  IanMcShane. The Work tells the story of a legendary half-demon superhero

  called to the English countryside to battle a trio of rampaging giants where he

  suddenly becomes caught in a clash between the supernatural and the human.

            28.   The Plaintiff is an affiliate of Millennium Media, a production

  company and distributor of a notable catalog of major motion pictures, including,

  among others, Rambo, The Expendables, Olympus Has Fallen and London Has

  Fallen. See www.millenniumfilms.com.

                                      B. The Defendants

            29.   Upon information and belief, Defendant Faizan resides in

  Gujranwala, Pakistan.

            30.   Defendant Faizan operates an interactive website mkvcage.com and

  previously mkvcage.fun (hereafter: “MKVCAGE website”) which includes a

  library of torrent files for copyright protected motion pictures, including

  Plaintiff’s. The torrent files can be used by a BitTorrent client application to

  download and reproduce motion pictures for free and without license.

            31.   Defendant Faizan creates the torrent files made available on the

  MKVCAGE website. Particularly, Defendant Faizan created the torrent files:

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv;

  Hellboy.2019.1080p.AMZN.WEBRip.DDP5.1.x264-NTG;                                and
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  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv and distributes them

  from the MKVCAGE website.

            32.   Upon information and belief, Defendant Faizan uses a process

  referred to as “ripping” to create a copy of motion pictures from either Blu-ray or

  legal streaming services.

            33.   Defendant   Faizan   sometimes     includes    words     such    as

  “MkvCage.com” in the titles of the torrent files he creates in order to enhance his

  reputation for the quality of his torrent files and attract users to his interactive

  MKVCAGE website.

            34.   Defendant JOHN DOE operates an interactive website ibit.uno

  (hereafter: “IBIT website”) which includes a library of torrent files for copyright

  protected motion pictures, including Plaintiff’s as well as games, software and

  books.      The torrent files can be used by a BitTorrent client application to

  download motion pictures for free and without license.

            35.   The true names and capacities, whether individual, corporate,

  associate or otherwise, of Defendant JOHN DOE is unknown to Plaintiff who

  therefore sues said Defendant by a fictitious name. Defendant JOHN DOE is

  known to the Plaintiff only by the website where it induces and contributes to

  infringements of Plaintiff’s Work.



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            36.   In response to a DMCA notice and subpoena, the Registrar

  Namecheap has indicated that the true name of the registrant of mkvcage.fun

  website is Defendant Faizan and that Defendant Faizan is also the registrant for

  the domains mkvcage.com, mkvcage.ws, mkvcage.cc and mkvcage.me.

            37.   Upon information and belief, Namecheap informed Defendant Faizan

  of Plaintiff’s DMCA notice. Defendant Faizan promptly moved his website from

  mkvcage.fun to mkvcage.com.

            38.   The whois search records for the registrant of the ibit.uno show

  Registrar is Tucows Domains, Inc. (“Tucows”).         In response to a DMCA

  subpoena, Tucows has indicated that the registrant is 1337 Services LLC which is

  a privacy service for the registrant.

            39.   Upon information and belief, Tucows informed Defendant JOHN

  DOE of Plaintiff’s DMCA notice. Defendant JOHN DOE deleted the link to the

  torrent file Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv specifically

  referred to in the DMCA notice, but continues to provide links to nearly one

  hundred other torrent files for copying the Work.




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            40.   Upon information and belief, the Defendants DOES 1-35 are users of

  the interactive websites of Defendants JOHN DOE and Faizan.

            41.   The Defendants DOES 1-35 include members of three groups of

  BitTorrent users or peers whose computers are collectively interconnected for the

  sharing of a particular unique file, otherwise known as a “swarm”. The particular

  file a BitTorrent swarm is associated with has a unique “hash” number, which in

  this case is: SHA1: 0550544E834856FC1F012A567388F0307CD8A61A (the

  “First Unique Hash Number”) for DOES 1-6 and the file name is

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv;                               SHA1:

  18031E80B3360664B3641E1B7952172740AD5A63 (the “Second Unique Hash

  Number”)          for    DOES        7-29        and   the    file         name     is

  Hellboy.2019.1080p.AMZN.WEBRip.DDP5.1.x264-NTG;                      and       SHA1:

  0550544E834856FC1F012A567388F0307CD8A61A (the “Third Unique Hash

  Number”)          for    DOES       30-35        and   the    file         name     is

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv.

            42.   Upon information and believe, Each of the Defendants DOES 1-35

  received from Plaintiff’s agent at least a first notice per 17 U.S.C. 512(a) of the

  DMCA requesting the individual to stop infringement of the Work or other Works

  via BitTorrent protocol.

            43.   The Internet Service Providers (“ISP”) Hawaiian Telcom and Charter
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  Communications LLC dba Spectrum (“Spectrum”) provide the Internet service for

  Defendants DOES 1-35. Plaintiff intends to subpoena the ISP in order to learn the

  subscriber identities of Defendants DOES 1-35.          Further discovery may be

  necessary in some circumstances in order to be certain of the identity of the proper

  Defendant. Plaintiff believes that information obtained in discovery will lead to

  the identification of each Defendant’s true names and permit the Plaintiff to

  amend this Complaint to state the same.         Plaintiff further believes that the

  information obtained in discovery may lead to the identification of additional

  infringing parties to be added to this Complaint as Defendants. Plaintiff will

  amend this Complaint to include the proper names and capacities when they have

  been determined. Plaintiff is informed and believes, and based thereon allege, that

  each of the fictitiously named Defendants participated in and are responsible for

  the acts described in this Complaint and damages resulting therefrom.

                                    IV.   JOINDER

            44.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiff asserts: (a)

  a right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely (i) the distribution of the torrent files associated with

  Plaintiff’s Work via the website of Defendant Faizan to Defendants DOES 1-35;

  (ii) the inducement by Defendant Faizan of the direct infringements of Defendants

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  DOES 1-35; and (iii) the infringement complained of herein by each of the

  Defendants was part of a series of transactions over the course of a relatively short

  period of time, involving the exact same piece of the Plaintiff’s copyrighted Work,

  and was accomplished by the Defendants acting in concert with each other (all via

  Defendant Faizan); and (b) there are common questions of law and fact.

                            V.     FACTUAL BACKGROUND
            A. The Plaintiff Owns the Copyright to the Work

            45.   The Plaintiff is the owner of the copyright in the Work. The Work is

  the subject of a copyright registration, and this action is brought pursuant to 17

  U.S.C. § 411. See Exhibit “2”.

            46.   The Work is a motion picture currently offered for sale in commerce.

            47.   Defendants had notice of Plaintiff’s rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright

  notices.

            48.   Defendants also had notice of Plaintiff’s rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

            B. Defendants Used BitTorrent To Infringe the Plaintiff’s Copyright

            49.   BitTorrent is one of the most common peer-to-peer file sharing

  protocols (in other words, set of computer rules) used for distributing large
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  amounts of data.

            50.   The BitTorrent protocol’s popularity stems from its ability to

  distribute a large file without creating a heavy load on the source computer and

  network. In short, to reduce the load on the source computer, rather than

  downloading a file from a single source computer (one computer directly

  connected to another), the BitTorrent protocol allows users to join a "swarm" of

  host computers to download and upload from each other simultaneously (one

  computer connected to numerous computers).

            1. Defendants DOES 1-35 installed a BitTorrent Client onto his or her

  Computer.

            51.   A BitTorrent Client is a software program that implements the

  BitTorrent Protocol. There are numerous such software programs which can be

  directly downloaded from the Internet.

            52.   Once installed on a computer, the BitTorrent Client serves as the

  user’s interface during the process of uploading and downloading data using the

  BitTorrent protocol.

            53.   Defendants DOES 1-35 installed a BitTorrent Client onto their

  respective computer.

            2. The Initial Seed, Torrent, Hash and Tracker

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            54.   A BitTorrent user that wants to upload a new file, known as an

  “initial seeder,” starts by creating a “torrent” descriptor file using, for example, the

  Client he or she installed onto his or her computer.

            55.   The Client takes the target computer file, the “initial seed,” here the

  copyrighted Work, and divides it into identically sized groups of bits known as

  “pieces.”

            56.   The Client then gives each one of the computer file’s pieces, in this

  case, pieces of the copyrighted Work, a random and unique alphanumeric

  identifier known as a “hash” and records these hash identifiers in the torrent file.

            57.   When another peer later receives a particular piece, the hash identifier

  for that piece is compared to the hash identifier recorded in the torrent file for that

  piece to test that the piece is error-free. In this way, the hash identifier works like

  an electronic fingerprint to identify the source and origin of the piece and that the

  piece is authentic and uncorrupted.

            58.   Torrent files also have an "announce" section, which specifies the

  URL (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

  (suggested) names for the files, their lengths, the piece length used, and the hash

  identifier for each piece, all of which are used by Clients on peer computers to

  verify the integrity of the data they receive.

            59.   The “tracker” is a computer or set of computers that a torrent file
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  specifies and to which the torrent file provides peers with the URL address(es).

            60.   The tracker computer or computers direct a peer user’s computer to

  other peer user’s computers that have particular pieces of the file, here the

  copyrighted Work, on them and facilitates the exchange of data among the

  computers.

            61.   Depending on the BitTorrent Client, a tracker can either be a

  dedicated computer (centralized tracking) or each peer can act as a tracker

  (decentralized tracking.)

            3. Torrent Sites

            62.   “Torrent sites” are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. There are numerous torrent websites including those of Defendants

  Faizan and JOHN DOE.

            63.   Upon information and belief, Defendants DOES 1-35 went to a

  torrent site to upload and download Plaintiff’s copyrighted Work.

            64.   Upon information and belief, Defendants DOES 1-35 went to the

  torrent site of Defendants Faizan and JOHN DOE to download Plaintiff’s

  copyrighted Work.            Particularly, the torrent files downloaded by Defendants

  DOES 1-35 were created by Defendant Faizan and made available by Defendant

  Faizan on his MKVCAGE website and on Defendant JOHN DOE’s IBIT website.
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            4. Uploading and Downloading a Work Through a BitTorrent Swarm

            65.   Once the initial seeder has created a torrent and uploaded it onto one

  or more torrent sites, then other peers begin to download and upload the computer

  file to which the torrent is linked (here the copyrighted Work) using the BitTorrent

  protocol and BitTorrent Client that the peers installed on their computers.

            66.   The BitTorrent protocol causes the initial seeder’s computer to send

  different pieces of the computer file, here the copyrighted Work, to the peers

  seeking to download the computer file.

            67.   Once a peer receives a piece of the computer file, here a piece of the

  copyrighted Work, it starts transmitting that piece to the other peers.

            68.   In this way, all of the peers and seeders are working together in what

  is called a “swarm.”

            69.   Here, Defendants (through each of the three groups) participated in

  the same swarm and directly interacted and communicated with other members of

  that swarm through digital handshakes, the passing along of computer instructions,

  uploading and downloading, and by other types of transmissions.

            70.   In this way, and by way of example only, one initial seeder can create

  a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

  form of a computer file, like the Work here, upload the torrent onto a torrent site,

  and deliver a different piece of the copyrighted Work to each of the peers. The
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  recipient peers then automatically begin delivering the piece they just received to

  the other peers in the same swarm.

            71.   Once a peer has downloaded the full file, the BitTorrent Client

  reassembles the pieces and the peer is able to view the movie. Also, once a peer

  has downloaded the full file, that peer becomes known as “an additional seed,”

  because it continues to distribute the torrent file, here the copyrighted Work.

            5. The Plaintiff’s Computer Investigator Identified the Defendants DOE

            1-35’s IP Addresses as Participants in Swarms That Were Distributing the

            Plaintiff’s Copyrighted Work

            72.   The Plaintiff retained Maverickeye UG (“MEU”) to identify the IP

  addresses that are being used by those people that are using the BitTorrent

  protocol and the Internet to reproduce, distribute, display or perform the Plaintiff’s

  copyrighted Work.

            73.   MEU used forensic software to enable the scanning of peer-to-peer

  networks for the presence of infringing transactions.

            74.   MEU extracted the resulting data emanating from the investigation,

  reviewed the evidence logs, and isolated the transactions and the IP addresses

  associated therewith for the files identified by the SHA-1 hash value of the Unique

  Hash Number.

            75.   The IP addresses, Unique Hash Number, and hit dates contained on
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  Exhibit “1” accurately reflect what is contained in the evidence logs, and show

  that Defendants DOES 1-35 have copied a piece of the Plaintiff’s copyrighted

  Work identified by the Unique Hash Numbers.

            76.   The Defendants DOES 1-35’s computers used the identified IP

  address to connect to the investigative server from a computer in this District in

  order to transmit a full copy, or a portion thereof, of a digital media file identified

  by the Unique Hash Number.

            77.   MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

  address listed on Exhibit 1 and verified that re-assemblage of the pieces using a

  BitTorrent Client results in a fully playable digital motion picture of the Work.

            78.   MEU’s agent viewed the Works side-by-side with the digital media

  file that correlates to the Unique Hash Number and determined that they were

  identical, strikingly similar or substantially similar.

            C. Defendant Faizan is the initial Seeder of the Work

            79.   Defendant Faizan was the initial seeder who copied the Work, created

  the       torrent   files   Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv,

  Hellboy.2019.1080p.AMZN.WEBRip.DDP5.1.x264-NTG                                      and

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv and distributed them

  via the MKVCAGE and IBIT websites.

            80.   Accordingly, Defendant Faizan is the initial contributor and creator
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  of the Swarms identified by the Unique Hash Numbers.

            81.    Defendant Faizan did not and does not have a license from Plaintiff

  to copy Plaintiff’s Work.

            D. Defendants Faizan and JOHN DOE distribute the torrent files of the

            Work

            82.    Defendant     Faizan       has   made        the   torrent    files

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv,

  Hellboy.2019.1080p.AMZN.WEBRip.DDP5.1.x264-NTG                                  and

  Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv available to users in

  Hawaii such as Defendants DOES 1-35, the United States and the entire World to

  download from the MKVCage website.

            83.    Defendant Faizan also made available the files Hellboy (2019) 720p

  BRRip HEVC 750MB ; Hellboy (2019) 1080p BRRip 6CH 2.3GB ; Hellboy

  (2019) 720p BRRip 1.1GB ; Hellboy (2019) 1080p AMZN WEB-DL 6CH 2.2GB

  ; Hellboy (2019) 1080p WEB-DL 6CH 2GB ; Hellboy (2019) 720p WEB-DL

  950MB ; Hellboy (2019) 720p HC HDRip 950MB available to users in Hawaii

  such as Defendants DOES 1-35, the United States and the entire World to

  download from the MKVCage website.

            84.    Defendant         Faizan          uploaded         the         file

  “Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv” to the IBIT website
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  of Defendant JOHN DOE in early July of 2019 where the Torrent File can be

  downloaded. Defendant Faizan used his profile “mkvcage” when uploading the

  file in order to maintain brand awareness of the quality of his torrent files.




            85.   Defendants Faizan and JOHN DOE did not and do not have a license

  from Plaintiff to distribute copies of Plaintiff’s Work.

            86.   As of Sept. 6, 2019 and the date of the infringements, Defendants

  Faizan and JOHN DOE do not have a DMCA agent as required by the DMCA to

  assert safe harbor.




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            E. Defendants Faizan and JOHN DOE induce infringements of the Work

            87.   Users of the Defendants Faizan and JOHN DOE’s interactive

  websites such as Defendants DOES 1-35 use the websites for their intended and

  unquestionably infringing purposes, most notably to obtain immediate,

  unrestricted, and unauthorized access to unauthorized copies of Plaintiff’s

  Copyrighted Work.

            88.   Defendants Faizan and JOHN DOE promote their websites for

  overwhelmingly, if not exclusively, infringing purposes, and that is how the users


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  use the websites.

            89.   The commercial value of Defendant Faizan and JOHN DOE’s

  websites depends on high-volume use of unauthorized content through the

  websites. Defendants Faizan and JOHN DOE promise their users reliable and

  convenient access to all the content they can watch and users visit the websites

  based on Defendants Faizan and JOHN DOE’s apparent success in delivering

  infringing content to its customers.

            F. Defendant Faizan misrepresents the legality of the torrent files he

            distributes.

            90.   Defendant Faizan promotes and/or advertises his MKVCAGE

  website commercially in interstate commerce.

            91.   Defendant Faizan has distributed torrent files of the Work in

  interstate commerce from his MKVCAGE website.

            92.   Defendant Faizan’s website includes misleading statements and/or

  false descriptions that misrepresent the nature, characteristics, qualities of the

  torrent files he distributes.

            93.   Particularly, Defendant Faizan’s statements that the torrent files can

  be used to watch Plaintiff’s Work misrepresents the illegal nature of the torrent

  files he distributes.

            94.   Particularly, Defendant Faizan’s omission that using the torrent files
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  he distributes as promoted would subject the user to copyright infringement

  misrepresents the illegal nature of his torrent files.

            95.   Defendant Faizan advertises, promotes, markets and distributes

  torrent files on his MKVCAGE website for the purpose of watching free movies.

  Accordingly, Defendant has made and distributed in interstate commerce and in

  this District, commercial advertising or promotions that contains false or

  misleading representations of fact.

            96.   Defendant Faizan has not obtained a license from Plaintiff or, upon

  information or belief, any Copyright holders to publicly perform or distribute their

  motion pictures.

            97.   Defendant Faizan does not mention the illegality of the torrent files in

  his promotional language of his MKVCAGE website.

            98.   Defendant Faizan has gone to great lengths to conceal himself from

  the public, including by using a privacy service to conceal his contact information

  in connection with registering and hosting his websites.

            99.   Consumers are likely to be misled and deceived into believing the

  torrent files of Defendant Faizan can be legally used for viewing Copyrighted

  motion pictures by the promotional language on Defendant Faizan’s MKVCAGE

  website.

            100. Defendant Faizan’s false and misleading promotions of his torrent
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  files are designed to entice consumers to use Defendant Faizan’s MKVCAGE

  website for viewing motion pictures rather than retailers, distributors or streaming

  services licensed by Plaintiff.

            101. Because Defendant Faizan does not pay for a license to distribute or

  copy any motion pictures, he can distribute the torrent files for nothing while

  profiting from advertisements on his websites and donations.           In this way,

  Defendant Faizan entices consumers who would otherwise pay to own and/or

  watch Plaintiff’s Works on a legitimate platform. In doing so, Defendant Faizan

  wrongfully misleads and deceives consumers into believing that they are using a

  legitimate platform to watch and/or copy Plaintiff’s Works, when in fact

  consumers are putting themselves at risk for criminal and civil penalties for

  Copyright Infringement.

            102. Defendant benefits financially from the infringement of the Works by

  the Hawaii users of his torrent files.

            103. Plaintiff is informed and believes that Defendant Faizan’s wrongful

  conduct has resulted in increased traffic to his websites while hindering the sale of

  Plaintiff’s Work through legitimate distribution channels. Plaintiff has sustained

  and will sustain damages as a result of Defendant Faizan’s wrongful conduct.


                            VI. FIRST CLAIM FOR RELIEF
            (Intentional Inducement – Against Defendants Faizan and JOHN DOE)

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            104. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            105. Plaintiff is the copyright owner of the Work which contains an

  original work of authorship.

            106. Defendants Faizan and JOHN DOE had actual knowledge of third

  parties’ infringement of Plaintiff’s exclusive rights under the Copyright Act.

            107.   Defendants Faizan and JOHN DOE intentionally induced the

  infringement of Plaintiff’s exclusive rights under the Copyright Act, including

  infringement of Plaintiff’s exclusive right to publicly distribute copies of

  Copyrighted Works.

            108. As intended and encouraged by Defendants Faizan and JOHN DOE,

  their websites provide torrent files that connect users to Torrent sources and/or

  sites that deliver copies of Plaintiff’s Copyrighted Work. The operators of these

  Torrent sources directly infringe Plaintiff’s exclusive rights by providing

  unauthorized copies of the works to the public, including to users of Defendants

  Faizan and JOHN DOE’s websites.

            109. Once the user of Defendants Faizan and JOHN DOE’s websites have

  obtained a complete copy of the Plaintiff’s Copyrighted Works, that particular user

  also becomes another Torrent source that delivers copies of Plaintiff’s Copyrighted

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  Work.

            110. Defendants Faizan and JOHN DOE induce the aforementioned acts of

  infringement by supplying the torrent file that facilitates, enables, and creates

  direct links between their users and the infringing Torrent source, and by actively

  inducing, encouraging and promoting the use of their websites for blatant

  copyright infringement.

            111. Defendants Faizan and JOHN DOE’s intentional inducement of the

  infringement of Plaintiff’s rights in its Copyrighted Work constitutes a separate

  and distinct act of infringement.

            112. Defendants Faizan and JOHN DOE’s inducement of the infringement

  of Plaintiff’s Copyrighted Work is willful, intentional, and purposeful, and in

  disregard of and with indifference to the rights of Plaintiff.

            113. Defendants Faizan and JOHN DOE’s actions are a direct and

  proximate cause of the infringements of Plaintiff’s Work.

                              VII. SECOND CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                   Contribution – Against Defendants Faizan and JOHN DOE)

            114. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            115. Defendants Faizan and JOHN DOE had actual or constructive

  knowledge of infringement of Plaintiff’s exclusive rights under the Copyright Act.

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  Defendants Faizan and JOHN DOE knowingly and materially contribute to such

  infringing activity.

            116. Defendants Faizan and JOHN DOE knowingly and materially

  contribute to the infringement of Plaintiff’s exclusive rights under the Copyright

  Act, including infringement of Plaintiff’s exclusive right to distribute the Work.

  Defendants Faizan and JOHN DOE design and promote their websites to provide

  torrent files that connect customers to unauthorized online torrent sources to

  download copies of Plaintiff’s Copyrighted Work. The operators of these torrent

  sources directly infringe Plaintiff’s distribution rights by providing copies of the

  Work to the public, including to website users. The operators, or others operating

  in concert with them, control the facilities and equipment used to store and deliver

  copies of the content, and they actively and directly cause the content to be

  distributed when users run the torrent file obtained from the website.

            117. Defendants Faizan and JOHN DOE knowingly and materially

  contribute to the aforementioned acts of infringement by supplying the website that

  facilitates, encourages, enables, and creates direct links between website users and

  infringing operators of the Torrent services, and by actively encouraging,

  promoting, and contributing to the use of the website for blatant copyright

  infringement.

            118. Defendants Faizan and JOHN DOE’s knowing and material
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  contribution to the infringement of Plaintiff’s rights in the Copyrighted Work

  constitutes a separate and distinct act of infringement.

            119. Defendant Faizan and JOHN DOE’s knowing and material

  contribution to the infringement of Plaintiff’s Copyrighted Work is willful,

  intentional, and purposeful, and in disregard of and with indifference to the rights of

  Plaintiff.

            120. As a direct and proximate result of the infringement to which

  Defendants Faizan and JOHN DOE knowingly and materially contribute, Plaintiff

  is entitled to damages and Defendant Faizan and JOHN DOE’s profits in amounts

  to be proven at trial.

            121. Defendants Faizan and JOHN DOE obtained a direct financial interest,

  financial advantage, and/or economic consideration from the infringements in

  Hawaii as a result of their infringing actions in the United States.

            122. Defendants Faizan and JOHN DOE’s actions are a direct and

  proximate cause of the infringements of Plaintiff’s Work.

                               VIII. THIRD CLAIM FOR RELIEF
                 (Contributory Copyright Infringement against Defendants Faizan
                and DOES 1-35 based upon participation in the BitTorrent Swarm)


            123. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

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            124. By participating in the BitTorrent swarms with others, Defendants

  Faizan and DOES 1-35 induced, caused or materially contributed to the infringing

  conduct of others.

            125. Plaintiffs did not authorize, permit, or provide consent to the

  Defendants Faizan and DOES 1-35 inducing, causing, or materially contributing

  to the infringing conduct of others.

            126. Defendants Faizan and DOES 1-35 knew or should have known that

  the other BitTorrent users in a swarm with it were directly infringing the

  Plaintiff’s copyrighted Work by copying constituent elements of the registered

  Work that are original.      Indeed, Defendants Faizan and DOES 1-35 directly

  participated in and therefore materially contributed to others’ infringing activities.

            127. The Defendants Faizan and DOES 1-35’s infringements were

  committed “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

            128. By engaging in the contributory infringement alleged in this

  Complaint, the Defendants Faizan and DOES 1-35 deprived not only the producer

  of the Work from income that could have been derived when this film was shown

  in public theaters and offered for sale or rental, but also all persons involved in the

  production and marketing of this film, numerous owners of local theaters and

  retail outlets in Hawai’i and their employees, and, ultimately, the local economy.

  The Defendants’ misconduct therefore offends public policy.
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            129. The Plaintiff has suffered damages that were proximately caused by

  the Defendants’ contributory copyright infringement including, but not limited to

  lost sales, price erosion, and a diminution of the value of its copyright.

                              IX. FOURTH CLAIM FOR RELIEF
                             (Direct Copyright Infringement against
                               Defendants Faizan and DOES 1-35)

            130. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            131. Plaintiff is the copyright owner of the Work which contains an

  original work of authorship.

            132. Defendant Faizan copied the constituent elements of the Work when

  creating the torrent files.

            133. Defendant DOES 1-35 copied the constituent elements of the Work.

            134. Plaintiff did not authorize, permit, or provide consent to Defendants

  to copy, reproduce, redistribute, perform, or display their Works.

            135. As a result of the foregoing, Defendants Faizan and DOES 1-35

  violated the Plaintiff’s exclusive right to reproduce the Work in copies, in

  violation of 17 U.S.C. §§ 106(1) and 501.

            136. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

            137. The Plaintiff has suffered damages that were proximately caused by
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  each of the Defendants’ copyright infringements including, but not limited to lost

  sales, price erosion, and a diminution of the value of its copyright.

                                VII. FIFTH CLAIM FOR RELIEF
                           (False Description against Defendant Faizan)


            138. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            139. Defendant Faizan has made and distributed in interstate commerce in

  in this District, advertisements that contain false or misleading statements of fact

  regarding the torrent files he distributes. These advertisements contain actual

  misstatements and/or misleading statements and failures to disclose, among other,

  the statement that Defendant Faizan’s torrents can be used to watch free movies

  without describing the illegality.

            140. Upon information and belief, these or misleading statements actually

  deceive or have a tendency to deceive, a substantial segment of Plaintiff’s

  customers and potential customers. This deception is material in that is likely to

  influence the purchasing decisions of Plaintiff’s customers.

            141. The false and misleading advertising statements and omissions of

  Defendant Faizan injure both consumers and Plaintiff.

            142. Defendant Faizan’s false and misleading advertising statements and

  omissions violate the Lanham Act §43(a), 15 U.S.C. §1125(a).
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            143. Defendant Faizan has caused and will continue to cause, immediate

  and irreparable injury to Plaintiff, including injury to its business, reputation, and

  goodwill, for which there is no adequate remedy at law. As such, Plaintiff is

  entitled to an injunction under 15 U.S.C. §1116 restraining Defendant Faizan, his

  agents, employees, representatives and all persons acting in concert with him from

  engaging in further acts of false advertising, and ordering removal of all

  Defendant Faizan’s false advertisements or to add a prominent warning to

  consumers regarding the illegality of his torrent files.

            144. Pursuant to 15 U.S.C. §1117, Plaintiff is entitled to recover from

  Defendant Faizan the damages sustained by Plaintiff as a result of Defendants

  Faizan’s acts in violation of Lanham Act §43(a). Plaintiff is at present unable to

  ascertain the full extent of the monetary damages it has suffered by reason of

  Defendants Faizan’s acts.

            145. Pursuant to 15 U.S.C. §1117, Plaintiff is further entitled to recover

  from Defendant Faizan the gains, profits and advantages that he has obtained as a

  result of his acts. Plaintiff is at present unable to ascertain the full amount of the

  gains, profits and advantages Defendant Faizan has obtained by reason of his acts.

            146. Pursuant to 15 U.S.C. §1117, Plaintiff is further entitled to recover

  costs of this action. Moreover, Plaintiff is informed and believes, and on that

  basis alleges, that Defendant Faizan’s conduct was undertaken willfully and with
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  the intention of causing confusion, mistake or deception, making this an

  exceptional case entitling Plaintiff to recover additional damages and reasonable

  attorneys’ fees.



                                  PRAYER FOR RELIEF

            WHEREFORE, the Plaintiff respectfully requests that this Court:

            (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to directly infringe and contribute to infringement of

  the Plaintiff’s copyrighted Work;

            (B) enter an order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

  that, Cloudflare and any other service provider cease providing service for the

  websites: (i) ibit.uno, mkvcage.com; and (ii) any mirror websites in concert with

  ibit.uno and mkvcage.com such as, but not limited to mkvcage.ws and mkvcage.cc,

  immediately cease said service;

            (C) that, upon Plaintiff’s request, those in privity with Defendants and those

  with notice of the injunction, including any Internet search engines, ISP, Web

  hosts, domain-name registrars, and domain name registries and/or their

  administrators that are provided with notice of the injunction, cease facilitating

  access to any or all domain names and websites through which Defendants Faizan

  and JOHN DOE engages in the aforementioned infringements;
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            (D) award the Plaintiff’s actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiff’s election, for maximum

  statutory damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

            (E) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

  U.S.C. § 505; and

            (F) grant the Plaintiff any and all other and further relief that this Court

  deems just and proper.

            The Plaintiff hereby demands a trial by jury on all issues properly triable by

  jury.

            DATED: Kailua-Kona, Hawaii, September 9, 2019.


                                      CULPEPPER IP, LLLC


                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper

                                      Attorney for Plaintiff
                                      HB Productions, Inc.




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